                  United States Bankruptcy Court
                   _______________
                             Middle District of
                                             Of_______________
                                                Alabama
      JACQUELINE ESTY
                                                                    17-33383

                                                                   13
      JACQUELINE ESTY



      NATIONSTAR MORTGAGE, LLC, dba MR. COOPER                            




      Address of Clerk:

                                   U.S. Bankruptcy Court
                                  Middle District of Alabama
                                     One Church Street
                                   Montgomery, AL 36104



      Name and Address of Plaintiff's Attorney:
                                           Paul D. Esco
                                       Attorney at Law, LLC
                                   2800 Zelda Road; Suite 200-7
                                      Montgomery, AL 36106





                                                                  Digitally signed by
                                                                  Juan-Carlos Guerrero
                                                                  Date: 2021.04.06
                                                                  12:03:05 -05'00'
 Case 21-03007       Doc 2
                         4     Filed 04/06/21
                                     04/07/21 Entered 04/06/21
                                                      04/07/21 12:08:07
                                                               08:49:23   Desc Main
                                  Document    Page 1 of 3
        Paul D. Esco



04/07/2021                             NOTE: If more space is needed, note "See Attached Page" in the
                                       appropriate box and add additional addresses to 3rd page of form.


✔
       See Page Three




 04/07/2021                                   /s/ Paul D. Esco
Date                                         Signature


          Print Name:
          Paul D. Esco
         Business Address:

           2800 Zelda Road; Suite 200-7
           Montgomery, AL 36106


    Case 21-03007       Doc 2
                            4   Filed 04/06/21
                                      04/07/21 Entered 04/06/21
                                                       04/07/21 12:08:07
                                                                08:49:23                             Desc Main
                                   Document    Page 2 of 3
  Nationstar Mortgage, LLC
  dba Mr. Cooper
  8950 Cypress Waters Boulevard
  Coppell, TX 75019

  Jay Bray-CEO
  Nationstar Mortgage, LLC dba
  Mr. Cooper
  8950 Cypress Waters Boulevard
  Coppell, TX 75019

  Corporation Service Company, Inc.
  Registered Agent for Nationstar
  Mortgage, LLC
  dba Mr. Cooper
  641 South Lawrence Street
  Montgomery, AL 36104




Case 21-03007        Doc 2
                         4        Filed 04/06/21
                                        04/07/21 Entered 04/06/21
                                                         04/07/21 12:08:07
                                                                  08:49:23   Desc Main
                                     Document    Page 3 of 3
